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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )
Plaintiff,
V. Case No. 98-CR-86-TCK
JASON RYAN EATON,
Defendant.
OPINION AND ORDER

 

On October 19, 2020, this court issued an order denying Defendant Jason Ryan Eaton's
("Eaton") § 2255 motion to vacate, set aside, or correct his sentence. (Doc. 76). Eaton seeks to
appeal the court's order, but he cannot proceed to the Tenth Circuit without a certificate of
appealability (COA). See 28 U.S.C. § 2253(c)(1). And Rule 11(a) of the Rules Governing Section
2255 Proceedings for the United States District Courts requires that a district court “must issue or

deny a certificate of appealability when it enters a final order adverse to the applicant.”

Until September 2017, the Tenth Circuit relied on its decision in United States v. Kennedy,
225 F.3d 1187 (10th Cir. 2000) to deem a COA denied if district courts did not rule within thirty
days of the filing of the notice of appeal. However, in United States v. Higley, No. 17-1111, at
*6_7 (10th Cir. Sep. 29, 2017) (unpublished), the Tenth Circuit held that Kennedy was no longer
good law and that, “if the district court has not ruled on a COA, this court should order a limited

remand for the district court to rule on COA.”

When this court denied Eaton's § 2255 motion, it did not address whether a COA should

issue. Consequently, and in light of Higley, the Tenth Circuit directed a limited remand for this
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court “to consider whether to issue a COA for this appeal.” United States v. Eaton, No. 20-5105
(10th Cir. November 3, 2020).

Under 28 U.S.C. § 2253(c)(2), this court may issue a COA “only if the applicant has
made a substantial showing of the denial of a constitutional right.” The proper standard for that
determination is a simple question: Could “reasonable jurists ... debate whether (or, for that
matter, agree that) the petition should have been resolved in a different manner or that the issues
presented were adequate to deserve encouragement to proceed further.” Miller-El v. Cockrell,
537 U.S. 322, 336 (2003) (citation omitted), rev'd on other grounds, Miller-El v. Dretke, 545
U.S. 231 (2005). With this standard in mind, Eaton has not made the requisite showing.

The Court finds Eaton has not made a substantial showing that he was denied a
constitutional right. No reasonable jurist could debate whether Eaton's petition should have been
resolved in a different manner or that the issues presented were adequate to deserve encouragement
to proceed further.

For the reasons above, the Court denies Eaton a COA as to his § 2255 motion.

IT IS SO ORDERED this 4th day of November, 2020.

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United States District Judge
